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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

In re:                                       §         Case No. 22-33581
         Joycare Therapy, LLC                §
                                             §
Debtor                                       §            Chapter 11

                        DEBTOR’S MOTION FOR FINAL DECREE AND
                           ADMINISTRATIVE CLOSING OF CASE

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU
OPPOSE THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY
TO RESOLVE THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU
MUST FILE A RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST FILE
AND SERVE YOUR RESPONSE WITHIN 21 DAYS OF THE DATE THIS WAS SERVED ON
YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE GRANTED.
IF YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED
AN AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY
DECIDE THE MOTION AT THE HEARING.

REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.


TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

         COMES NOW Joycare Therapy, LLC (“Debtor”), Debtor-in-possession, in the above bankruptcy

case, and respectfully requests that this Court enter a Final Decree in the above-entitled case and close

this case, pursuant to 11 U.S.C. § 350 and F.R.B.P. 3022 and would show this court as follows:

   1. The Order confirming the Plan was entered on July 11, 2023.

   2. All operating reports through July 2023 have been filed.

   3. Debtor’s counsel has filed a final fee application at docket #157.

   4. Debtor’s accountant has filed a final fee application at docket #159.

   5. The subpart V trustee has filed a final fee application at docket #161.



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   6. The plan will be substantially consummated when the Class 5 Creditors are paid and the

       administrative expenses are paid.

   7. All motions and contested matters have been resolved or will soon be resolved.

   8. No amounts are owed to the U.S. Trustee.

              WHEREFORE, PREMISES CONSIDERED, Debtor requests that this court (1) grant

       Debtor’s Motion for Final Decree, (2) order the case closed, and (3) for such other and further

       relief as to which Debtor may be justly entitled.

Dated: August 16, 2023

                                             Respectfully submitted,

                                             /s/ Reese W. Baker
                                             Reese W. Baker.
                                             Tx Bar No. 01587700
                                             Baker & Associates
                                             950 Echo Lane, Suite 300
                                             Houston, Texas 77024
                                             (713) 869-9200
                                             (713)869-9100 FAX
                                             ATTORNEY FOR DEBTOR


                                   CERTIFICATE OF SERVICE

       I certify that on August 16, 2023, I caused a copy of the foregoing document to be served by the
Electronic Case Filing System for the United States Bankruptcy Court for the Southern District of Texas.

                                                     /s/ Reese W. Baker
                                                     Reese W. Baker




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